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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
ANTHONY SCIACCA,                       )
                                       )
                  Plaintiff,           )
                                       )
      v.                               ) Civil Action No. 08-2030 (RWR/JMF)
                                       )
FEDERAL BUREAU OF                      )
INVESTIGATION, UNITED STATES           )
DEPARTMENT OF JUSTICE OFFICE OF        )
INFORMATION POLICY,                    )
                                       )
                  Defendants.          )
______________________________________ )

       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL

       On February 16, 2012, Magistrate Judge Facciola issued a Report and Recommendation

(“Report”) addressing a motion for summary judgment filed by Defendants, the Federal Bureau

of Investigation (“FBI”) and the United States Department of Justice (“DOJ”) Office of

Information Policy (“OIP”), pursuant to Plaintiff’s claim under the Freedom of Information Act

(“FOIA”), 5 U.S.C. § 552, and Privacy Act, 5 U.S.C. § 552a. Defendants objected to the

Report’s findings and recommendation and asserted that their declaration satisfied the statutory

requirements and comported with prevailing case law. Plaintiff then filed the instant Motion to

Compel (“Motion”), apparently under the impression that the Report constituted a final decision

and that Defendants failed to “appeal” that decision.

                                          Background

       On December 19, 2006, Plaintiff submitted a written FOIA/Privacy Act request to the

FBI’s New York Field Office (“NYFO”) seeking access to and copies of all documents

referencing his criminal case in United States District Court for the Eastern District of New
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York. See Declaration of David M. Hardy (“Hardy Decl.”)1 ¶ 7. On November 15, 2007, the

FBI advised Plaintiff that a search of the automated indices of the Central Records System at

NYFO reflected that there were documents potentially responsive to his request and subject to

FOIA. Hardy Decl. ¶ 11. On November 26, 2008, after unsuccessful searches and being

informed of his right to file a lawsuit by OIP, Plaintiff filed the current lawsuit before this Court

in which he asserted that the FBI failed to comply with his request. Hardy Decl. ¶¶ 11-15. The

FBI continued to search for and ultimately located and twice released responsive documents

subject to FOIA: (1) on March 4, 2009, the FBI stated that it had reviewed 365 pages and was

releasing 281 pages in full or in part, advising Plaintiff that it had asserted exemption (j)(2) of the

Privacy Act and FOIA exemptions 2, 6, 7(C), 7(D) and 7(E) to withhold the remaining records in

full or in part; and (2) on April 30, 2009, the FBI stated by letter that it had reviewed an

additional 279 pages and was releasing 259 pages in full or in part, further advising Plaintiff that

it had asserted exemption (j)(2) of the Privacy Act and FOIA exemptions 2, 3, 6, 7(C), 7(D) and

7(E) to withhold the remaining records in full or in part. Hardy Decl. ¶¶ 16-17.

       On May 4, 2009, Defendants submitted a Motion for Summary Judgment.2 ECF No. 12.

Plaintiff, after requested extensions totaling nearly 18 months,3 responded on October 29, 2010,

and Defendants replied on November 9, 2010. ECF Nos. 23, 24. On October 11, 2011, this

Court referred this matter to Magistrate Judge Facciola for a Report and Recommendation,

pursuant to Local Rule 72.3(a). ECF No. 28. Magistrate Judge Facciola presented his Report

and Recommendation on February 16, 2012. ECF No. 31. On March 1, 2012, Defendants filed

their Objections to the Magistrate Judge’s Proposed Findings and Recommendations

1
  See ECF No. 12, Exhibit (“Exh.”) 1.
2
  Defendants added a Motion to Dismiss on November 2, 2010. See ECF No. 12.
3
  Plaintiff also sent two letters to Defendants’ counsel seeking extensions, which Defendants
submitted to the Court on Plaintiff’s behalf. See ECF Nos. 19, 20.
                                                  2
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(“Objections”), urging this Court to sustain Defendants’ Objections and grant their Motion for

Summary Judgment. ECF No. 32.

                                            Argument

       Plaintiff appears to be under the impression that Magistrate Judge Facciola’s Report

constituted a final order denying Defendants’ Motion for Summary Judgment. See Motion at 1.

Additionally, Plaintiff claims that he has not received any notice that Defendants “appealed” the

Report. Id. Plaintiff, believing the matter conceded, now asks this Court to compel Defendants

to produce the documents Plaintiff requested pursuant to FOIA and the Privacy Act. Id.

       Plaintiff admittedly fails to fully understand the authority of the Magistrate Judge’s

Report. Id. The Local Rules of this Court provide for district judges to refer particular matters

to magistrate judges for “proposed findings of fact and recommendations,” to be submitted to the

district judge for final determination. See LCvR 72.3(a). Parties may file with the district judge

objections to the magistrate judge’s proposed findings and recommendations. See LCvR 72.3(b).

The district judge “shall [then] make a de novo determination of those portions of a magistrate

judge’s findings and recommendations to which objection is made” pursuant to LCvR 72.3(b).

See LCvR 72.3(c); McGaughey v. District of Columbia, 734 F. Supp. 2d 14, 16-17 (D.D.C.

2010). “A district judge may accept, reject, or modify, in whole or in part, the findings and

recommendations of the magistrate judge, or may recommit the matter to the magistrate judge

with instructions.” LCvR 72.3(c). Magistrate judges lack the authority to issue final orders or

judgment if they receive referrals for recommendations pursuant to LCvR 72.3. See David v.

District of Columbia, 252 F.R.D. 56, 58-59 (D.D.C. 2008); see also David v. District of

Columbia, 674 F. Supp. 2d 34, 36 n.1 (D.D.C. 2009) (treating the magistrate judge’s “order” as a




                                                 3
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recommendation).4 A party waives its right to appeal by failing to timely file an objection to the

magistrate’s report.5 See Thomas v. Arn, 474 U.S. 140, 155 (1985).

       Here, Magistrate Judge Facciola submitted a Report to this Court to make a final

determination on Defendants’ Motion for Summary Judgment. See ECF Nos. 28, 31.

Defendants filed their Objections within the time permitted by the Local and Federal Rules.6 See

ECF Nos. 31, 32. As such, this Court will review Magistrate Judge Facciola’s Report de novo

and “may accept, reject, or modify, in whole or in part” the Report’s proposed findings and

recommendation. See LCvR 72.3(c).




4
  A magistrate judge retains the power to enter judgment only “[b]y consent of all parties,” who
must sign notices of consent and file them with the Clerk of the court. LCvR 73.1(a), (b); see
also 28 U.S.C. § 636(c).
5
  Local Rule 7(b), which governs oppositions to proposed findings and recommendations
pursuant to Local Rule 72.3, allows for the filing of oppositions within 14 days from the date of
service. See LCvR 72.3(b). The Federal Rules of Civil Procedure permit three additional days
in computing time to file motion papers when a party is served under Federal Rule 5(b)(2)(C)-
(F). See Fed. R. Civ. P. 6(d). Rule 5(b)(2)(E) governs electronic service.
6
  Defendants received electronic service on February 16, 2012, and filed their Objections on
March 1, 2012, within the 17 days permitted by LCvR 7(b) and Fed. R. Civ. P. 6(d). See ECF
Nos. 31, 32.
                                                4
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                                          Conclusion

       For the foregoing reasons, Defendants respectfully request that this Court deny Plaintiff’s

Motion to Compel. A proposed order consistent with this opposition is attached hereto.



Date: March 15, 2012                         Respectfully submitted,

                                             RONALD C. MACHEN JR. D.C. BAR # 447889
                                             United States Attorney

                                             RUDOLPH CONTRERAS, D.C. Bar # 434122
                                             Assistant United States Attorney

                                               /s/                .
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                  Plaintiff,           )
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      v.                               ) Civil Action No. 08-2030 (RWR/JMF)
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FEDERAL BUREAU OF                      )
INVESTIGATION, UNITED STATES           )
DEPARTMENT OF JUSTICE OFFICE OF        )
INFORMATION POLICY,                    )
                                       )
                  Defendants.          )
______________________________________ )

                                         ORDER

       UPON CONSIDERATION of Plaintiff’s Motion to Compel, and any opposition thereto

and the entire record herein, it is on this ____ day of __________________, 2012, ORDERED

that Plaintiff’s Motion is DENIED.



                                                 ______________________________
                                                 United States District Judge
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of March, 2012, a true and correct copy of the

foregoing Defendants’ Opposition to Plaintiff’s Motion to Compel was served upon Plaintiff by

first-class United States mail, marked for delivery to:

Anthony Sciacca
#57375-053
FMC Lexington
Federal Medical Center
P.O. Box 14500
Lexington, KY 40512

                                                 /s/                                   d
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